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                                                                          FILED
                  IN THE UNITED STATES DISTRlCT COURT                      FEB 19 2015
                      FOR THE DISTRICT OF MONTANA
                           NIISSOULA DIVISION                           e/er!<, U S. District Court
                                                                            Istnct Of Montana
                                                                                Missoula


 UNITED STATES OF AMERlCA,                             CR 14-35-M-DLC
                      Plaintiff,
                                                      FINDINGS AND
        vs.                                         RECOMMENDATION
                                                    CONCERNING PLEA
 MARK IRVIN ROBERTS,

                      Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of conspiring to distribute

methamphetamine in violation of21 U.S.C. §§ 841(a)(1) and 846, as set forth in

the Superseding Information. Defendant further agrees to the forfeiture allegation

in the Superseding Information. In exchange for Defendant's plea, the United

States has agreed to dismiss the Indictment previously filed in this matter.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea to the criminal offense charged against him, and an


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informed and voluntary admission to the allegation of forfeiture;

       2. That the Defendant is aware of the nature of the charge against him and

the consequences of pleading guilty to the charge;

       3. That the Defendant understands the allegation of forfeiture and the

consequences of admitting to the allegation;

       4. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty to the criminal

offense charged against him, and admitting to the allegation of forfeiture;

       5. That both his plea of guilty to the criminal offense charged against him

and his admission to the allegation of forfeiture are knowingly and voluntarily

entered, and are both supported by independent factual grounds sufficient to prove

each of the essential elements of the criminal offense charged and the legal basis

for the forfeiture.

       The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of the offense

charged in the Superseding Information, that sentence be imposed, and that the

Indictment be dismissed. I further recommend the agreed forfeiture be imposed


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against Defendant.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence-report.

      DATED this 19 th day of February, 2015.




                                       r. miah C. Lynch
                                       ited States Magistrate Judge




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